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                               UNITED STATES DISTRICT COURT
                                  DISTRICT OF NEW JERSEY


                                                       :
LINUS HOLDING CORP.,                                   :
                                                       :
                 Plaintiff,                            : Civil No. 17-3694 (FLW)(DEA)
         v.                                            :
                                                       : ORDER
MARK LINE INDUSTRIES, LLC., et al.,                    :
                                                       :
                 Defendants.                           :
                                                       :


         This matter comes before the Court on the following Motions: (a) a Motion by Reed Smith

LLP (“Reed Smith”), Henry Reichner, Esq. appearing, for leave to withdraw as counsel for

Defendant Mosaic Capital Group, Inc. (“Mosaic”) 1; as well as (b) a Cross-Motion by Plaintiff to

compel the production of discovery. [ECF no.’s 42, 43]. While the Court recognizes that Plaintiff’s

relief is sought by way of Cross-Motion, for purposes of simplicity, the Court will address

Plaintiff’s application prior to the withdrawal Motion. In that connection, for the reasons stated

during the parties’ telephone conference with the Court on February 5, 2018, and for good cause

shown:

         IT IS on this 6th day of February, 2018,

         ORDERED THAT:

              1. Plaintiff’s Cross-Motion to compel discovery is GRANTED. Within 30 days of the
                 date herein, Defendants shall respond to the deficiencies raised by Plaintiff by
                 providing more specific interrogatory answers; to the extent they exist, Defendants
                 shall also supplement their document production by searching and inquiring for any
                 additional responsive, non-privileged documents.

1
       The named Defendants in this action also include the managing principals and directors of
Mosaic, (a) Joseph C. Blockno and (b) Christopher Remke, as well as (c) Mark Line Industries,
LLC (cumulatively referred to as “Defendants”). Although Reed Smith withdrew its appearance
on behalf of the latter two Defendants, they have subsequently secured other counsel. [ECF No.
30].
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         2. If supplemental interrogatory answers or additional documents cannot be provided,
            Defendants shall submit a certification identifying the diligent, good-faith efforts
            undertaken to fully comply with their discovery obligations.

         3. The Motion to be relieved as counsel is conditionally GRANTED, subject to
            compliance with the above stated obligations. A copy of this Order shall be
            promptly served on each Defendant by electronic mail, as well as ordinary and
            certified U.S. Mail.

         4. The deadline to complete fact discovery is extended to July 31, 2018. Any Motion
            to amend the pleadings or add parties must be filed by May 31, 2018.

         5. The Court will hold a telephone status conference on April 16, 2018 at 10:30 A.M.,
            during which a schedule for expert discovery and the filing of any dispositive
            motions will be set. Defense counsel must initiate the call.


                                                  /s/ Douglas E. Arpert
                                                  DOUGLAS E. ARPERT
                                                  United States Magistrate Judge
